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                                 UNITED STATES DISTRICT COURT
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                                   DISTRICT OF CONNECTICUT
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                                          GrandJuryN-18-1
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UNITED STATES OF AMERICA                               No.    3J~c(z_qq { ~)
                 v.                                    VIOLATIONS:

MARVIN NATHAN WILLIAMS                                 18 U.S.C. §§ 1546(a) and 2
                                                       (Immigration document fraud and
                                                       aiding and abetting)

                                                       18 U.S.C. §§ 100l(a)(3) and 2
                                                       (False statement and aiding and abetting)


                                           INDICTMENT

        The Grand Jury charges:

                                       Introductory Allegations

       At all times relevant to this Indictment:

        1.       Defendant MARVIN NATHAN WILLIAMS was a resident and citizen of the

United States.

       2.        Non-Citizen 1 was a non-citizen of the United States residing in the United States.

       3.        Non-Citizen 2, who is not a defendant herein, was a non-citizen of the United States

residing in the United States.

       4.        Non-Citizen 3, who is not a defendant herein, was a non-citizen of the United States

residing in the United States.

       5.        Non-Citizen 4, who is not a defendant herein, was a non-citizen of the United States

residing in the United States.
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       6.       Under the immigration laws of the United States, the United States government

may grant a non-citizen the right to live and work in the United States for an extended period.

One of the more common ways that this happens is by the United States Citizenship and

Immigration Service ("USCIS") granting a non-citizen the status of "lawful permanent resident,"

also known as "LPR status," and commonly referred to as having a "green card." Obtaining

LPR/green card status can take a substantial amount of time.

       7.       One of the pathways for obtaining LPR/green card status involves a non-citizen

becoming legally married to a United States citizen. The application process whereby a non-

citizen spouse obtains LPR/green card status often involves the following documents, among

others: a Form I-485 "Application to Register Permanent Residence or Adjust Status," whereby

the non-citizen spouse applies for LPR/green card status; a Form I-130 "Petition for Alien

Relative," whereby the citizen-spouse sponsors the LPR/green card application of his or her non-

citizen spouse; and a Form G-325 or G-325A "Biographic Information" sheet, which both the

citizen and the non-citizen must fill out and submit along with their respective Forms I-485 and I-

130.

       8.       On or about June 6, 2011, defendant MARVIN NATHAN WILLIAMS entered into

a marriage with Non-Citizen 1; then on or about June 17, 2011, Non-Citizen 1 signed, and

subsequently submitted and caused to be submitted, a Form I-485 to USCIS seeking LPR/green

card status; and on or about June 17, 2011, defendant MARVIN NATHAN WILLIAMS signed,

and subsequently submitted and caused to be submitted, a Form I-130 and a Form G-325A to

USCIS, sponsoring Non-Citizen 1's LPR/green card application.



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        9.       On or about July 22, 2011, defendant MARVIN NATHAN WILLIAMS entered

into a marriage with Non-Citizen 2; then on or about August 1, 2011, Non-Citizen 2 signed, and

subsequently submitted and caused to be submitted, a Form I-485 to USCIS seeking LPR/green

card status; and on or about August 1, 2011, defendant MARVIN NATHAN WILLIAMS signed,

and subsequently submitted and caused to be submitted, a Form I-130 and a Form G-325A to

USCIS, sponsoring Non-Citizen 2's LPR/green card application.

        10.      On or about August 11,2012, defendant MARVIN NATHAN WILLIAMS entered

into a marriage with Non-Citizen 3; then between on or about January 12, 2014, and on or about

April 24, 2015, Non-Citizen 3 signed and submitted and caused to be submitted a Form I-485 to

USCIS seeking LPR/green card status; and between on or about January 12, 2014, and on or about

April24, 2015, defendant MARVIN NATHAN WILLIAMS signed and submitted and caused to

be submitted a Form I-130 and a Form G-325 to USCIS, sponsoring Non-Citizen 3's LPR/green

card application.

       11.       On or about Apri119, 2014, defendant MARVIN NATHAN WILLIAMS entered

into a marriage with Non-Citizen 4; then on or about September 16, 2014, Non-Citizen 4 signed,

and subsequently submitted and caused to be submitted, a Form I-485 to USCIS seeking

LPR/green card status; and on or about September 16, 2014, defendant MARVIN NATHAN

WILLIAMS signed, and subsequently submitted and caused to be submitted, a Form I-130 and a

Form G-325 to USCIS, sponsoring Non-Citizen 4's LPR/green card application.




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                                              COUNT ONE
                                       (Immigration Document Fraud)

        12.     The allegations contained in paragraphs 1 through 11 are incorporated by

reference in this Count as if fully set forth herein.

        13.     On or about January 12, 2014, in the District of Connecticut and elsewhere,

defendant MARVIN NATHAN WILLIAMS did knowingly subscribe as true under penalty of

perjury under 28 U.S.C. § 1746 a false statement with respect to a material fact in a document

required by the immigration laws and regulations prescribed thereunder, that is, a USCIS Form I-

130 "Petition for Alien Relative" subsequently submitted to USCIS on behalf ofNon-Citizen 3, in

which, the defendant stated and declared under penalties of perjury in Part D, Blocks 1 and 2 of

the Form I-130 that he neither was submitting nor had previously submitted an I-130 petition for

anyone else other than Non-Citizen 3's daughter, when in fact, MARVIN NATHAN WILLIAMS

knew and believed that he also had previously submitted and caused to be submitted I-130 petitions

on behalf ofNon-Citizen 1 and Non-Citizen 2.

       All in violation of Title 18, United States Code, Sections 1546(a) and 2.




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                                               COUNT TWO
                                              (False Statement)

        14.      The allegations contained in paragraphs 1 through 11 are incorporated by reference

in this Count as if fully set forth herein.

        15.      On or about January 12, 2014, in the District of Connecticut and elsewhere,

defendant MARVIN NATHAN WILLIAMS did willfully and knowingly make and use a false

writing and document, knowing the same to contain a materially false, fictitious, and fraudulent

statement and entry in a matter within the jurisdiction of the executive branch of the Government

of the United States, by completing and subsequently causing to be submitted to the United States

Citizenship and Immigration Service, a Form G-325 Biographic Information sheet, on which

MARVIN NATHAN WILLIAMS stated and declared that his current and former spouses

consisted of one person, namely, Non-Citizen 3, when in fact, MARVIN NATHAN WILLIAMS

knew and believed that his current and former spouses also included Non-Citizen 1 and Non-

Citizen 2.

       All in violation of Title 18, United States Code, Sections 1001(a)(3) and 2.


                                                       A TRUE BILL
                                                                  /s/




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